                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CASE NO. 3:12-00088-2
                                                )   JUDGE SHARP
ANNY CASTILLO                                   )
                                                )

                                           ORDER

        A hearing on a plea of guilty for Defendant Castillo is hereby scheduled for Thursday,

November 8, 2012 at 1:30 p.m.

        It is so ORDERED.


                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




     Case 3:12-cr-00088      Document 36       Filed 11/02/12     Page 1 of 1 PageID #: 94
